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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

   CommScope, Inc.; CommScope, Inc. )
                                        Civil Action No. 19-cv-15962-
   of North Carolina; and CommScope )
                                        JXN-LDW
   Technologies LLC,                  )
                                      )
                Plaintiffs,           )
                                      )
   v.                                 )
                                      )
   Rosenberger Technology (Kunshan) )
   Co. Ltd., Rosenberger Asia Pacific )
   Electronic Co., Ltd., Rosenberger  )
   Technology LLC, Rosenberger USA )
   Corp., Rosenberger North America   )
   Pennsauken, Inc., Rosenberger Site )
   Solutions, LLC, Rosenberger        )
   Hochfrequenztechnik GmbH & Co. )
   KG, Northwest Instrument, Inc.,    )
   CellMax Technologies AB, Janet     )
   Javier, and Robert Cameron,        )
                                      )
                Defendants.           )
                                      )
    _____________________________ )

       ANSWER TO PLAINTIFFS’ SECOND AMENDED COMPLAINT

        Defendant   Rosenberger    Hochfrequenztechnik     GmbH     &    Co.   KG

  (“Rosenberger Germany”), by and through its undersigned attorneys, hereby

  answers Plaintiffs’ Second Amended Complaint (the “Second Amended

  Complaint”) as follows:

        1.    Rosenberger Germany denies the allegations set forth in Paragraph 1.




                                        44760.00001
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        2.       Rosenberger Germany denies the allegations set forth in the first and

  third sentences of Paragraph 2, except admits that certain affiliated entities develop,

  manufacture, and/or sell telecommunications equipment, including BSAs.

  Rosenberger Germany admits the allegations set forth in the second sentence of

  Paragraph 2.

        3.       Rosenberger Germany denies the allegations set forth in Paragraph 3.

        4.       Rosenberger Germany denies the allegations set forth in Paragraph 4.

        5.       Rosenberger Germany denies the allegations set forth in Paragraph 5.

        6.       Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the second sentence of

  Paragraph 6, and, on that basis, denies the allegations. Rosenberger Germany denies

  the allegations set forth in the remainder of Paragraph 6.

        7.       Rosenberger Germany denies the allegations set forth in Paragraph 7.

        8.       Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the first sentence of

  Paragraph 8 with respect to CommScope’s intentions, and, on that basis, denies the

  allegations. Rosenberger Germany denies the allegations set forth in the remainder

  of Paragraph 8.




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        9.     Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 9, and, on that

  basis, denies the allegations.

        10.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 10, and, on that

  basis, denies the allegations.

        11.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 11, and, on that

  basis, denies the allegations.

        12.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 12, and, on that

  basis, denies the allegations.

        13.    Rosenberger Germany denies the allegations set forth in Paragraph 13,

  except admits that certain policies are effective at various entities, and respectfully

  refers the Court to the entirety of the referenced documents for their complete and

  accurate contents.

        14.    Rosenberger Germany denies the allegations set forth in Paragraph 14

  except admits that Rosenberger Technology (Kunshan) Co. Ltd. has its principal

  place of business in Kunshan, Jiangsu Province, China, and is majority-owned by

  Rosenberger Asia Pacific Electronic Co., Ltd.



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        15.    Rosenberger Germany denies the allegations set forth in Paragraph 15

  except admits that Rosenberger Asia Pacific Electronic Co., Ltd. has its principal

  place of business in Beijing, China, and is majority-owned by Rosenberger

  Germany.

        16.    Rosenberger Germany admits the allegations set forth in the first and

  second sentences of Paragraph 16. Rosenberger Germany denies the allegations set

  forth in the third sentence of Paragraph 16.

        17.    Rosenberger Germany admits the allegations set forth in the first and

  second sentences of Paragraph 17. Rosenberger Germany denies the allegations set

  forth in the third sentence of Paragraph 17.

        18.    Rosenberger Germany admits the allegations set forth in the first and

  second sentences of Paragraph 18. Rosenberger Germany denies the allegations set

  forth in the third and fourth sentences of Paragraph 18, except admits that

  Rosenberger North America Pennsauken, Inc. is engaged in precision

  manufacturing. Rosenberger Germany respectfully refers the Court to the entirety

  of the referenced documents for their complete and accurate contents.

        19.    Rosenberger Germany admits the allegations set forth in the first

  sentence of Paragraph 19, and otherwise denies the allegations set forth in Paragraph

  19.

        20.    Rosenberger Germany admits the allegations set forth in Paragraph 20.



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        21.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the first sentence of

  Paragraph 21, and, on that basis, denies the allegations. Rosenberger Germany

  denies the allegations set forth in the remainder of Paragraph 21 and respectfully

  refers the Court to the entirety of the referenced documents for their complete and

  accurate contents.

        22.    Rosenberger Germany admits the allegations set forth in the first and

  third sentences of Paragraph 22 and admits that CellMax is a subsidiary of

  Rosenberger Germany. Rosenberger Germany denies the allegations set forth in the

  remainder of Paragraph 22.

        23.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 23, and, on that

  basis, denies the allegations.

        24.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 24, and, on that

  basis, denies the allegations.

        25.    Paragraph 25 states legal conclusions to which no response is required.

        26.    Paragraph 26 states legal conclusions to which no response is required.

        27.    Paragraph 27 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany admits the allegations



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  set forth in the first, third, and fourth sentences of Paragraph 27. Rosenberger

  Germany denies the allegations set forth in the second sentence of Paragraph 27.

        28.    Paragraph 28 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 28, and, on that basis, denies the allegations.

        29.    Paragraph 29 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany denies the allegations

  set forth in Paragraph 29.

        30.    Paragraph 30 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany denies the allegations

  set forth in Paragraph 30.

        31.    Paragraph 31 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany admits that Rosenberger

  Site Solutions is registered to do business in New Jersey and otherwise denies the

  allegations set forth in Paragraph 31.

        32.    Paragraph 32 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany denies the allegations

  set forth in Paragraph 32. Rosenberger Germany respectfully refers the Court to the

  entirety of the referenced documents for their complete and accurate contents.



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        33.    Paragraph 33 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany admits that it is not

  subject to personal jurisdiction in any specific state and otherwise denies the

  allegations set forth in Paragraph 33.

        34.    Paragraph 34 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany denies the allegations

  set forth in Paragraph 34.

        35.    Paragraph 35 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 35, and, on that basis, denies the allegations.

        36.    Paragraph 36 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany lacks knowledge or

  information sufficient to form a belief as to the truth of the allegations set forth in

  Paragraph 36, and, on that basis, denies the allegations.

        37.    Paragraph 37 states legal conclusions to which no response is required.

  To the extent a response is required, Rosenberger Germany denies the allegations

  set forth in Paragraph 37.

        38.    Rosenberger Germany denies the allegations set forth in Paragraph 38.




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        39.    Rosenberger Germany denies the allegations set forth in Paragraph 39,

  except admits that BSAs can sometimes be complicated and valuable equipment and

  are sometimes attached to cellular towers or on rooftops.

        40.    Rosenberger Germany denies the allegations set forth in Paragraph 40,

  except admits that BSAs sometimes use radio frequencies to exchange signals with

  mobile devices like cell phones and can receive and transmit radio signals at great

  distance with minimal interference.

        41.    Rosenberger Germany denies that AAAP and PSOAA are “trade secret

  software programs” and otherwise lacks knowledge or information sufficient to state

  a belief as to the truth of the allegations set forth in Paragraph 41, and, on that basis,

  denies the allegations.

        42.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 42, and, on that

  basis, denies the allegations.

        43.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 43, and, on that

  basis, denies the allegations.

        44.    Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in Paragraph 44, and, on that

  basis, denies the allegations.



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        45.    Rosenberger Germany denies that the referenced software programs are

  “trade secret software programs” and otherwise lacks knowledge or information

  sufficient to state a belief as to the truth of the allegations set forth in Paragraph 45,

  and, on that basis, denies the allegations.

        46.    Rosenberger Germany denies that Andrew Antenna Format is a “trade

  secret format” and that the other referenced software tools are trade secrets.

  Rosenberger Germany otherwise lacks knowledge or information sufficient to state

  a belief as to the truth of the allegations set forth in Paragraph 46, and, on that basis,

  denies the allegations.

        47.    Rosenberger Germany denies that the referenced methods and software

  programs are trade secrets, and otherwise lacks knowledge or information sufficient

  to form a belief as to the truth of the allegations set forth in the remainder of

  Paragraph 47, and, on that basis, denies the allegations.

        48.    Rosenberger Germany denies the allegations set forth in Paragraph 48.

        49.    Rosenberger Germany denies the allegations set forth in Paragraph 49.

        50.    Rosenberger Germany denies that the referenced software programs are

  trade secrets. Rosenberger Germany lacks knowledge or information sufficient to

  form a belief as to the truth of the allegations set forth in the remainder of Paragraph

  50, and, on that basis, denies the allegations.

        51.    Rosenberger Germany denies the allegations set forth in Paragraph 51.



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         52.    Rosenberger Germany denies the allegations set forth in Paragraph 52.

         53.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the last sentence of

   Paragraph 53, and, on that basis, denies the allegations. Rosenberger Germany

   denies the allegations set forth in the remainder of Paragraph 53.

         54.    Rosenberger Germany denies the allegations set forth in Paragraph 54.

         55.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 55, and, on that

   basis, denies the allegations.

         56.    Rosenberger Germany denies the allegations set forth in Paragraph 56.

         57.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the third sentence of

   Paragraph 57, and, on that basis, denies the allegations. Rosenberger Germany

   denies the allegations set forth in the remainder of Paragraph 57, and respectfully

   refers the Court to the referenced documents for their complete and accurate

   contents.

         58.    Rosenberger Germany denies the allegations set forth in Paragraph 58.

         59.    Rosenberger Germany denies the allegations set forth in Paragraph 59.

         60.    Rosenberger Germany denies the allegations set forth in Paragraph 60.

         61.    Rosenberger Germany denies the allegations set forth in Paragraph 61.



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          62.    Rosenberger Germany denies the allegations set forth in Paragraph 62.

          63.    Rosenberger Germany denies the allegations set forth in Paragraph 63.

          64.    Rosenberger Germany denies the allegations set forth in Paragraph 64.

          65.    Rosenberger Germany denies the allegations set forth in Paragraph 65.

          66.    Rosenberger Germany denies the allegations set forth in Paragraph 66,

   except admits that CommScope makes Antenna Pattern Viewer publicly available.

          67.    Rosenberger Germany denies that AAF is a “trade secret.”

   Rosenberger Germany admits that certain employees may have unknowingly

   received Andrew Antenna Format files, but otherwise denies the allegations set forth

   in Paragraph 67. Rosenberger Germany avers that CommScope has failed to take

   reasonable measures to protect the confidentiality of the AAF file format and has

   distributed such files to third parties.

          68.    Rosenberger Germany denies the allegations set forth in Paragraph 68.

          69.    Rosenberger Germany denies the allegations set forth in Paragraph 69.

          70.    Rosenberger Germany denies the allegations set forth in Paragraph 70.

          71.    Rosenberger Germany denies the allegations set forth in Paragraph 71.

          72.    Rosenberger Germany denies the allegations set forth in Paragraph 72.

         73.     Rosenberger Germany denies the allegations set forth in Paragraph 73.

         74.     Rosenberger Germany denies the allegations set forth in Paragraph 74.




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         75.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the third and fourth sentence

   of Paragraph 75, and, on that basis, denies the allegations, and denies the allegations

   set forth in the remainder of Paragraph 75.

         76.    Rosenberger Germany denies the allegations set forth in Paragraph 76.

         77.    Rosenberger Germany denies the allegations set forth in Paragraph 77.

         78.    Rosenberger Germany denies the allegations set forth in Paragraph 78,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         79.    Rosenberger Germany denies the allegations set forth in Paragraph 79,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         80.    Rosenberger Germany denies the allegations set forth in Paragraph 80,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         81.    Rosenberger Germany denies the allegations set forth in Paragraph 81,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.




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         82.    Rosenberger Germany denies the allegations set forth in Paragraph 82,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         83.    Rosenberger Germany denies the allegations set forth in Paragraph 83,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         84.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 84 concerning

   the contents of CommScope’s source code, and, on that basis, denies the allegations.

   Rosenberger Germany otherwise denies the allegations set forth in the remainder of

   Paragraph 84.

         85.    Rosenberger Germany denies the allegations set forth in Paragraph 85.

         86.    Rosenberger Germany denies the allegations set forth in Paragraph 86,

   and respectfully refers the Court to the referenced presentation for its complete and

   accurate contents.

         87.    Rosenberger Germany denies the allegations set forth in Paragraph 87,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         88.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 88 concerning



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   CommScope’s source code, and, on that basis, denies the allegations. Rosenberger

   Germany otherwise denies the allegations set forth in Paragraph 88, and respectfully

   refers the Court to the entirety of the referenced presentation for its complete and

   accurate contents.

         89.    Rosenberger Germany denies the allegations set forth in Paragraph 89,

   except admits that wireless service providers sometimes conduct field trials of

   antennas.

         90.    Rosenberger Germany denies the allegations set forth in Paragraph 90.

         91.    Rosenberger Germany denies the allegations set forth in Paragraph 91,

   except admits that certain Rosenberger entities obtained AT&T’s approval to sell

   certain BSAs to AT&T. Rosenberger Germany respectfully refers the Court to the

   entirety of the referenced presentations for their complete and accurate contents.

         92.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations in Paragraph 92 concerning AT&T’s

   “typical[]” practices, and, on that basis, denies the allegations.      Rosenberger

   Germany denies the allegations set forth in the remainder of Paragraph 92.

         93.    Rosenberger Germany denies the allegations set forth in Paragraph 93.

   Rosenberger Germany respectfully refers the Court to the entirety of the referenced

   documents for their complete and accurate contents.




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         94.    Rosenberger Germany denies the allegations set forth in Paragraph 94,

   and respectfully refers the Court to the entirety of the referenced presentation for its

   complete and accurate contents.

         95.    Rosenberger Germany denies the allegations set forth in Paragraph 95,

   and respectfully refers the Court to the entirety of the referenced presentations for

   their complete and accurate contents.

         96.    Rosenberger Germany denies the allegations set forth in Paragraph 96,

   and respectfully refers the Court to the entirety of the referenced presentations for

   their complete and accurate contents.

         97.    Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 97, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the entirety of the referenced document for its complete and accurate contents.

         98.    Rosenberger Germany denies the allegations set forth in Paragraph 98.

         99.    Rosenberger Germany denies the allegations set forth in Paragraph 99.

         100. Rosenberger Germany denies the allegations set forth in Paragraph 100.

         101. Rosenberger Germany denies the allegations set forth in the first

   sentence of Paragraph 101 concerning “misappropriation of the Simulation

   Software,” the fourth sentence describing PSOAA as “a CommScope proprietary

   program that only CommScope’s employees can access,” and the allegations in the



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   last sentence of Paragraph 101. Rosenberger Germany otherwise lacks knowledge

   or information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 101, and, on that basis, denies the allegations.

         102. Rosenberger Germany denies the allegations set forth in Paragraph 102.

         103. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 103, and, on that

   basis, denies the allegations.

         104. Rosenberger Germany denies the allegations set forth in Paragraph 104.

         105. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first two sentences of

   Paragraph 105, and, on that basis, denies the allegations. Rosenberger Germany

   denies the allegations set forth in the remainder of Paragraph 105.

         106. Rosenberger Germany denies the allegations set forth in Paragraph 106.

         107. Rosenberger Germany denies the allegations set forth in Paragraph 107.

         108. Paragraph 108 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany denies the allegations

   set forth in Paragraph 108.

         109. Paragraph 109 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany denies the allegations

   set forth in Paragraph 109.



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         110. Rosenberger Germany denies the allegations set forth in Paragraph 110.

         111. Rosenberger Germany denies the allegations set forth in Paragraph 111.

         112. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 112, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the referenced website for its complete and accurate contents.

         113. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 113, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the referenced documents and website for their complete and accurate contents.

         114. Rosenberger Germany denies the allegations set forth in Paragraph 114.

   Rosenberger Germany respectfully refers the Court to the referenced document for

   its complete and accurate contents.

         115. Rosenberger Germany denies the allegations set forth in Paragraph 115.

   Rosenberger Germany respectfully refers the Court to the referenced document for

   its complete and accurate contents.

         116. Rosenberger Germany denies the allegations set forth in Paragraph 116,

   and respectfully refers the Court to the referenced document for its complete and

   accurate contents.




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         117. Rosenberger Germany denies the allegations set forth in Paragraph 117,

   and respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         118. Rosenberger Germany denies the allegations set forth in Paragraph 118,

   and respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         119. Rosenberger Germany denies the allegations set forth in Paragraph 119.

         120. Rosenberger Germany denies the allegations set forth in Paragraph 120,

   and respectfully refers the Court to the referenced documents for their complete and

   accurate contents.

         121. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 121, and, on that

   basis, denies the allegations.

         122. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 122, and, on that

   basis, denies the allegations.

         123. Paragraph 123 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 123, and, on that basis, denies the allegations. Rosenberger Germany



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   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         124. Paragraph 124 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 124, and, on that basis, denies the allegations. Rosenberger Germany

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         125. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 125, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the entirety of the referenced agreement for its complete and accurate contents.

         126. Paragraph 126 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 126, and, on that basis, denies the allegations.

         127. Paragraph 127 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 127, and, on that basis, denies the allegations.



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         128. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 128, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the entirety of the referenced agreement for its complete and accurate contents.

         129. Paragraph 129 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 129, and, on that basis, denies the allegations. Rosenberger Germany

   respectfully refers the Court to the entirety of the referenced agreement for its

   complete and accurate contents.

         130. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 130, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the entirety of the referenced agreement for its complete and accurate contents.

         131. Paragraph 131 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 131, and, on that basis, denies the allegations. Rosenberger Germany

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.



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         132. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 132, and, on that

   basis, denies the allegations.

         133. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 133, and, on that

   basis, denies the allegations.

         134. Paragraph 134 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 134, and, on that basis, denies the allegations. Rosenberger Germany

   respectfully refers the Court to the referenced statement for its complete and accurate

   contents.

         135. Paragraph 135 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 135, and, on that basis, denies the allegations. Rosenberger Germany

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.




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         136. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 136, and, on that

   basis, denies the allegations.

         137. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 137, and, on that

   basis, denies the allegations.

         138. Paragraph 138 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 138, and, on that basis, denies the allegations. Rosenberger Germany

   respectfully refers the Court to the referenced agreement for its complete and

   accurate contents.

         139. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 139, and, on that

   basis, denies the allegations.

         140. Paragraph 140 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany denies the allegations

   set forth in Paragraph 140.




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         141. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 141, and, on that

   basis, denies the allegations.

         142. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the fourth sentence in

   Paragraph 142, and, on that basis, denies the allegations. Rosenberger Germany

   denies the allegations set forth in the remainder of Paragraph 142, and respectfully

   refers the Court to the referenced documents for their complete and accurate

   contents.

         143. Rosenberger Germany denies the allegations set forth in the last

   sentence of Paragraph 143. Rosenberger Germany otherwise lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the remainder of Paragraph 143, and, on that basis, denies the allegations.

         144. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 144, and, on that

   basis, denies the allegations.

         145. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 145, and, on that

   basis, denies the allegations.




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         146. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 146, and, on that

   basis, denies the allegations.

         147. Rosenberger Germany denies the allegations set forth in the first

   sentence of Paragraph 147, and lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the remainder of Paragraph 147,

   and, on that basis, denies the allegations.

         148. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first and second

   sentences of Paragraph 148, and, on that basis, denies the allegations. Rosenberger

   Germany denies the allegations set forth in the third sentence of Paragraph 148.

         149. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first and second sentence

   of Paragraph 149, and, on that basis, denies the allegations. Rosenberger Germany

   denies the allegations set forth in the third sentence of Paragraph 149.

         150. Rosenberger Germany denies the allegations set forth in Paragraph 150.

         151. Rosenberger Germany denies the allegations set forth in Paragraph 151.

          152. Rosenberger Germany denies the allegations set forth in the first

   sentence of Paragraph 152. lacks knowledge or information sufficient to form a

   belief as to the truth of the allegations set forth in the remainder of Paragraph 152,



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   and, on that basis, denies the allegations. Rosenberger Germany respectfully refers

   the Court to the referenced document for its complete and accurate contents.

         153. Rosenberger Germany denies the allegations set forth in Paragraph 153.

         154. Rosenberger Germany denies the allegations set forth in Paragraph 154.

         155. Paragraph 155 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   Paragraph 155, and, on that basis, denies the allegations.

         156. Rosenberger Germany denies the allegations set forth in Paragraph 156.

         157. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first sentence of

   Paragraph 157, and, on that basis, denies the allegations. Rosenberger Germany

   denies the allegations set forth in the remainder of Paragraph 157.

         158. Rosenberger Germany denies the allegations set forth in Paragraph 158,

   and respectfully refers the Court to the entirety of the referenced document for its

   complete and accurate contents.

         159. Rosenberger Germany denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.




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         160. Rosenberger Germany denies that Dkt. No. 6 applies to CellMax

   Technologies AB or to Northwest Instrument, Inc., and respectfully refers the Court

   to the referenced document for its complete and accurate contents.

         161. Rosenberger Germany denies the allegations set forth in Paragraph 161.

         162. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 162, and, on that

   basis, denies the allegations.

         163. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 163, and, on that

   basis, denies the allegations.

         164. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 164, and, on that

   basis, denies the allegations.

         165. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 165, and, on that

   basis, denies the allegations.

         166. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 166, and, on that

   basis, denies the allegations.




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         167. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 167, and, on that

   basis, denies the allegations.

         168. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 168, and, on that

   basis, denies the allegations.

         169. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 169, and, on that

   basis, denies the allegations.

         170. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 170, and, on that

   basis, denies the allegations.

         171. Rosenberger Germany denies the allegations set forth in Paragraph 171.

         172. Rosenberger Germany denies the allegations set forth in Paragraph 172.

         173. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 173, and, on that

   basis, denies the allegations.

         174. Rosenberger Germany denies the allegations set forth in Paragraph 174.

         175. Rosenberger Germany denies the allegations set forth in Paragraph 175.




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         176. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         177. Rosenberger Germany denies the allegations set forth in Paragraph 177.

         178. Rosenberger Germany denies the allegations set forth in Paragraph 178.

         179. Rosenberger Germany denies the allegations set forth in Paragraph 179.

         180. Rosenberger Germany denies the allegations set forth in Paragraph 180.

         181. Rosenberger Germany denies the allegations set forth in Paragraph 181.

         182. Rosenberger Germany denies the allegations set forth in Paragraph 182.

         183. Rosenberger Germany denies the allegations set forth in Paragraph 183.

         184. Rosenberger Germany denies the allegations set forth in Paragraph 184.

         185. Rosenberger Germany denies the allegations set forth in Paragraph 185.

         186. Rosenberger Germany denies the allegations set forth in Paragraph 186.

         187. Rosenberger Germany denies the allegations set forth in Paragraph 187.

         188. Rosenberger Germany denies the allegations set forth in Paragraph 188.

         189. Rosenberger Germany denies the allegations set forth in Paragraph 189.

         190. Rosenberger Germany denies the allegations set forth in Paragraph 190.

         191. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         192. Rosenberger Germany denies the allegations set forth in Paragraph 192.

         193. Rosenberger Germany denies the allegations set forth in Paragraph 193.



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         194. Rosenberger Germany denies the allegations set forth in Paragraph 194.

         195. Rosenberger Germany denies the allegations set forth in Paragraph 195.

         196. Rosenberger Germany denies the allegations set forth in Paragraph 196.

         197. Rosenberger Germany denies the allegations set forth in Paragraph 197.

         198. Rosenberger Germany denies the allegations set forth in Paragraph 198.

         199. Rosenberger Germany denies the allegations set forth in Paragraph 199.

         200. Rosenberger Germany denies the allegations set forth in Paragraph 200.

         201. Rosenberger Germany denies the allegations set forth in Paragraph 201.

         202. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         203. Rosenberger Germany denies the allegations set forth in Paragraph 203.

         204. Rosenberger Germany denies the allegations set forth in Paragraph 204.

         205. Rosenberger Germany denies the allegations set forth in Paragraph 205.

         206. Rosenberger Germany denies the allegations set forth in Paragraph 206.

         207. Rosenberger Germany denies the allegations set forth in Paragraph 207.

         208. Rosenberger Germany denies the allegations set forth in Paragraph 208.

         209. Rosenberger Germany denies the allegations set forth in Paragraph 209.

         210. Rosenberger Germany denies the allegations set forth in Paragraph 210.

         211. Rosenberger Germany denies the allegations set forth in Paragraph 211.

         212. Rosenberger Germany denies the allegations set forth in Paragraph 212.



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         213. Rosenberger Germany denies the allegations set forth in Paragraph 213.

         214. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         215. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 215, and, on that

   basis, denies the allegations.

         216. Rosenberger Germany denies the allegations set forth in Paragraph 216.

         217. Rosenberger Germany denies the allegations set forth in Paragraph 217.

         218. Rosenberger Germany denies the allegations set forth in Paragraph 218.

         219. Rosenberger Germany denies the allegations set forth in Paragraph 219.

         220. Rosenberger Germany denies the allegations set forth in Paragraph 220.

         221. Rosenberger Germany denies the allegations set forth in Paragraph 221.

         222. Rosenberger Germany denies the allegations set forth in Paragraph 222.

         223. Rosenberger Germany denies the allegations set forth in Paragraph 223.

         224. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         225. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 225, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the referenced document for its complete and accurate contents



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         226. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 226, and, on that

   basis, denies the allegations. Rosenberger Germany respectfully refers the Court to

   the referenced document for its complete and accurate contents

         227. Paragraph 227 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 227, and, on that basis, denies the allegations.

         228. Paragraph 228 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 228, and, on that basis, denies the allegations.

         229. Paragraph 229 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 229, and, on that basis, denies the allegations.

         230. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 230, and, on that

   basis, denies the allegations.




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         231. Paragraph 231 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 231.

         232. Paragraph 232 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 232.

         233. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 233, and, on that

   basis, denies the allegations.

         234. Paragraph 234 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 234.

         235. Paragraph 235 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 235.

         236. Rosenberger Germany denies the allegations set forth in Paragraph 236.

         237. Paragraph 237 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 237.




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         238. Paragraph 238 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany respectfully

   refers the Court to the entirety of the referenced agreements for their complete and

   accurate contents.

         239. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         240. Paragraph 240 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger Germany denies the allegations

   set forth in Paragraph 240.

         241. Paragraph 241 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 241.

         242. Paragraph 242 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 242.

         243. Paragraph 243 states legal conclusions to which no response is required.

   To the extent a response is required, Rosenberger Germany lacks knowledge or

   information sufficient to form a belief as to the truth of the allegations set forth in

   the first sentence of Paragraph 243, and, on that basis, denies the allegations.




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   Rosenberger Germany denies the remainder of the allegations set forth in Paragraph

   243.

          244. Paragraph 244 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 244, and, on that basis, denies the allegations.

          245. Paragraph 245 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 245, and, on that basis, denies the allegations.

          246. Rosenberger Germany denies the allegations set forth in Paragraph 246.

          247. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

          248. Rosenberger Germany admits that it is not a party to the Agreements

   referenced in Paragraph 248 and respectfully refers the Court to the referenced

   agreements for their complete and accurate contents.

          249. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 249, and, on that

   basis, denies the allegations.

          250. Rosenberger Germany denies the allegations set forth in Paragraph 250.



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         251. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 251, and, on that

   basis, denies the allegations.

         252. Paragraph 252 states legal conclusions to which no response is required.

   To the extent a response is required. Rosenberger Germany denies the allegations

   set forth in Paragraph 252.

         253. Rosenberger Germany denies the allegations set forth in Paragraph 253.

         254. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in Paragraph 254, and, on that

   basis, denies the allegations.

         255. Rosenberger Germany denies the allegations set forth in Paragraph 255.

         256. Rosenberger Germany denies the allegations set forth in Paragraph 256.

         257. Rosenberger Germany denies the allegations set forth in Paragraph 257.

         258. Rosenberger Germany lacks knowledge or information sufficient to

   form a belief as to the truth of the allegations set forth in the first sentence and the

   first clause of the second sentence of Paragraph 258, and, on that basis, denies the

   allegations. Rosenberger Germany denies the allegations set forth in the remainder

   of Paragraph 258.

         259. Paragraph 259 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks



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   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 259, and, on that basis, denies the allegations.

         260. Paragraph 260 states a legal conclusion to which no response is

   required.   To the extent a response is required, Rosenberger Germany lacks

   knowledge or information sufficient to form a belief as to the truth of the allegations

   set forth in Paragraph 260, and, on that basis, denies the allegations.

         261. Rosenberger Germany denies the allegations set forth in Paragraph 261.

         262. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         263. Rosenberger Germany denies the allegations set forth in Paragraph 263.

         264. Rosenberger Germany denies the allegations set forth in Paragraph 264.

         265. Rosenberger Germany denies the allegations set forth in Paragraph 265.

         266. Rosenberger Germany denies the allegations set forth in Paragraph 266.

         267. Rosenberger Germany denies the allegations set forth in Paragraph 267.

         268. Rosenberger Germany denies the allegations set forth in Paragraph 268.

         269. Rosenberger Germany denies the allegations set forth in Paragraph 269.

         270. Rosenberger Germany denies the allegations set forth in Paragraph 270.

         271. Rosenberger Germany denies the allegations set forth in Paragraph 271.

         272. Rosenberger Germany denies the allegations set forth in Paragraph 272.




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         273. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         274. Paragraph 274 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 274.

         275. Rosenberger Germany denies the allegations set forth in Paragraph 275,

   except admits that Rosenberger Site Solutions, LLC is a partially owned subsidiary

   of Rosenberger USA and makes certain decisions independently of other entities

   named as defendants.

         276. Rosenberger Germany denies the allegations set forth in Paragraph 276.

         277. Rosenberger Germany denies the allegations set forth in Paragraph 277.

         278. Rosenberger Germany incorporates by reference its responses to the

   foregoing allegations.

         279. Paragraph 279 states a legal conclusion to which no response is

   required.

         280. Paragraph 280 states a legal conclusion to which no response is

   required. To the extent a response is required, Rosenberger Germany denies the

   allegations set forth in Paragraph 280.

         281. Rosenberger Germany denies the allegations set forth in Paragraph 281.

         282. Rosenberger Germany denies the allegations set forth in Paragraph 282.



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         283. Rosenberger Germany denies the allegations set forth in Paragraph 283.

         284. Rosenberger Germany denies the allegations set forth in Paragraph 284.

         285. Rosenberger Germany denies the allegations set forth in Paragraph 285.

         286. Rosenberger Germany denies the allegations set forth in Paragraph 286.

         287. Rosenberger Germany denies the allegations set forth in Paragraph 287.

         288. Rosenberger Germany denies the allegations set forth in Paragraph 288.

                              AFFIRMATIVE DEFENSES
         289. By alleging the Affirmative Defenses set forth below, Rosenberger

   Germany intends no alteration of the burden of proof and/or burden of going forward

   with evidence which otherwise exists with respect to any particular issues at law or

   in equity. Furthermore, all such defenses are pleaded in the alternative, and do not

   constitute an admission of liability or that Plaintiffs are entitled to any relief

   whatsoever.

                                 First Affirmative Defense
         290. Plaintiffs’ claims are barred in whole or in part because the Second

   Amended Complaint fails to state a claim upon which relief can be granted.

                                Second Affirmative Defense

         291. Plaintiffs’ claims are barred in whole or in part by the applicable

   statutes of limitations, laches, and the statute of repose.




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                                Third Affirmative Defense

         292. Plaintiffs’ claims are barred in whole or in part by the doctrines of

   laches, waiver, consent, release, estoppel, unclean hands, and/or ratification.

                               Fourth Affirmative Defense

         293. Plaintiffs’ claims are barred in whole or in part by the doctrine of

   equitable estoppel.

                                Fifth Affirmative Defense

         294. Plaintiffs’ claims are barred because Plaintiffs have failed to show that

   what they allege to be trade secrets are actually trade secrets under the law.

                                Sixth Affirmative Defense

         295. Plaintiffs’ claims are barred because, to the extent any form of trade

   secrets exists, Plaintiffs have not shown that Plaintiffs are the owners of the alleged

   trade secrets.

                               Seventh Affirmative Defense

         296. Plaintiffs’ claims are barred because Plaintiffs have failed to identify

   the specific trade secrets allegedly misappropriated and used by Defendants.

                               Eighth Affirmative Defense

         297. Plaintiffs’ claims are barred because the alleged trade secrets are either

   generally known or readily ascertainable by proper means, were not valuable




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   business information, or were not the subject of efforts that were reasonable under

   the circumstances to maintain their secrecy.

                               Ninth Affirmative Defense

         298. Plaintiffs’ claims are barred because Plaintiffs failed to take reasonable

   steps to maintain and safeguard the secrecy of any information claimed in this action

   to be a trade secret.

                               Tenth Affirmative Defense

         299. Plaintiffs’ claims are barred because they have not suffered any losses

   or damages proximately caused by the conduct of Defendants alleged in the Second

   Amended Complaint.

                              Eleventh Affirmative Defense
         300. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because Plaintiffs’ alleged trade secrets have been disclosed publicly or were

   generally known.

                              Twelfth Affirmative Defense

         301. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because the technology and processes used to make the accused products were

   independently developed.




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                             Thirteenth Affirmative Defense

         302. Plaintiffs’ trade secret misappropriation claims fail, in whole or in part,

   because, to the extent Rosenberger acquired any alleged trade secret, it did so in a

   lawful manner.

                             Fourteenth Affirmative Defense

         303. Plaintiffs’ claims are barred in whole or in part because Plaintiffs have

   failed to mitigate any damages they may have suffered.

                              Fifteenth Affirmative Defense

         304. Plaintiffs’ claims are barred in whole or in part because they cannot

   demonstrate that Defendants acted with the requisite intent.

                             Sixteenth Affirmative Defense

         305. Plaintiffs’ claims for misappropriation of trade secrets fail, in whole or

   in part, on the grounds that the alleged trade secrets or other confidential and

   proprietary information for which Plaintiffs claim they are entitled to the relief

   sought are not trade secrets because Plaintiffs cannot meet their burden to show that

   the information derives independent economic value, actual or potential, from not

   being generally known to, and not being readily ascertainable through proper means

   by, another person who can obtain economic value from the disclosure or use of the

   information.




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                            Seventeenth Affirmative Defense

         306. Plaintiffs’ claims are barred in whole or in part by the applicable statute

   of limitations.

                             Eighteenth Affirmative Defense

         307. Plaintiffs are not entitled to injunctive relief because any injury to them

   is not immediate or irreparable, Plaintiffs would have an adequate remedy at law,

   the balance of hardships weighs against an injunction, and the public interest is best

   served by not issuing an injunction.

                             Nineteenth Affirmative Defense

         308. Plaintiffs have not suffered and will not suffer harm as a result of

   Rosenberger’s alleged misconduct.

                             Twentieth Affirmative Defense

         309. Plaintiffs’ claims under United States or state law have no

   extraterritorial effect. Plaintiffs are barred from asserting such claims concerning

   conduct outside the United States.

                            Twenty-First Affirmative Defense

         310. Any decision by a court outside the United States, or agreement entered

   into by the parties outside the United States, should be given deference as a matter

   of comity.




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                           Twenty-Second Affirmative Defense

         311. Rosenberger Germany hereby adopts by reference any additional

   applicable defense pleaded by any other defendant and not otherwise pleaded herein,

   as well as any defense available under the statutes relied upon by Plaintiffs.

   Rosenberger Germany intends to rely upon any additional defense that is now or

   may become available or appears during or as a result of the discovery proceedings

   in this action, and expressly reserves its right to amend its answer to assert any such

   defense.

         WHEREFORE, Rosenberger Germany demands judgment in its favor and

   against the Plaintiffs, as follows:

                (a)    For Rosenberger Germany and against Plaintiffs on each and
                       every claim set forth in the Second Amended Complaint;

                (b)    Awarding Rosenberger Germany reasonable attorneys’ fees and
                       costs as well as such other and further relief as the Court may
                       deem just and proper.




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   Dated: September 7, 2021

                                      Respectfully submitted,
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                                      Solutions, LLC, Rosenberger
                                      Hochfrequenztechnik GmbH & Co. KG, and
                                      Northwest Instrument, Inc.



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